
70 So.3d 742 (2011)
Reginald PRIVETTE, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-2594.
District Court of Appeal of Florida, Fifth District.
September 23, 2011.
Reginald Privette, Indiantown, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from the order denying the motion for post-conviction relief in Case No. 2008-CF-002679-A-O, in the Circuit Court in and for Orange County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
GRIFFIN, PALMER and EVANDER, JJ., concur.
